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                                  IN THE UNITED STATES BANKRUPTCY COURT

                                            FOR THE DISTRICT OF DELAWARE


In re:                                                              )
                                                                    )
W. R. GRACE & CO., et aL.                                           )     Chapter 11
                                                                    )
                                       Debtors.                     )     Case No. 01-01139 (JKF)
                                                                    )     (Jointly Administered)
                                                                    )
                                                                    )     Re: Docket Nos. 23724, 23866
                                                                          1/25/10 Agenda #8

                JOINT PRETRIAL STATEMENT FOR LIMITATIONS TRIAL ON
             CANADIAN PROPERTY DAMAGE CLAIM NUMBERS 11627 AND 12476
            Debtors and Claimants respectfully submit this pretrial statement for the statute of
limitations trial of Canadian property damage claim numbers 11627 and 12476.



I. STATEMENT OF THE CASE
            A. Debtors' Statement of                  the Case

            On April       14, 2009, the Cour entered a Memorandum Opinion and Order (Docket No.

21270) disallowing and expunging thirty-five (35) Canadian asbestos property damage claims

that were bared by ultimate limitations periods in the Canadian providences of Alberta, British

Columbia and Manitoba.

            In its Memorandum Opinion, the Cour held, inter alia, that, under Privest Properties

Ltd v. Foundation Co. of                  Canada (1995) 11 B.C.L.R. (3d) 1 (B.C.S.Ç.), British Columbia's

thirt-year ultimate limitations period began to run when the asbestos-containing product was

installed in the building. The Court fuher held that British Columbia's ultimate limitations

period can not be tolled through allegations of fraud. The Court fuher concluded that the fiing




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of   the Anderson Memorial Class Action Complaint did not toll British Columbia's thirt-year

ultimate limitations period.

           Two Canadian property damage claims for buildings located in British Columbia remain

in these proceedings: (1) Claim No. 11627 fied by 68 Nanaimo-Ladysmith School District; and

(2) Claim No. 12476 fied by the City of                          Vancouver. The materials submitted in connection with

these claims establishes that the alleged asbestos-containing product for which the claimants seek

recovery against the Debtors was installed in the buildings at issue more than 30 years before

Debtors fied these Chapter 11 proceedings.


            Specifically, with respect to Claim No. 11627, on the proof of claim form for this claim,

the claimant admitted that it purchased the property at issue on January 9, 1951. See Exhibit 1,

Claim No. 11627 Claim Form at Question 4. The claimant fuher conceded that it did not install

the asbestos-containing product in the property. Id at Question 14. It accordingly is undisputed

that the asbestos-containing product at issue was installed in the building prior to Januar 9,

1951, over 50 years prior to the commencement of                               these Chapter 11 cases.

            For Claim No. 12476, the claimant admitted that it purchased the property on July 31,

1956. See Exhibit 2, Claim No. 12476 Claim Form at Question 4. The claimant similarly

admitted that it did not install the asbestos-containing product for which it was submitting its

claim. Id at Question 14. It is therefore undisputed that the product at issue was installed in the

building prior to July 31, 1956, nearly 45 years prior to the commencement of these Chapter 11

cases.

            Accordingly, with respect to both of                       the foregoing claims, the asbestos-containing

product at issue was concededly installed in the buildings well before April                             2, 1971, more than

thirty years before Debtors fied these Chapter 11 proceedings.




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          As the Cour held in its Memorandum Opinion, British Columbia's thirt-year ultimate

limitations period begins to ru on the date that the asbestos-containing product was installed in

the building. For Claim Nos. 11627 and 12476, claimants have admitted that the product was

installed in the building well before April 2, 1971. British Columbia's thirt-year ultimate

limitations period accordingly ran on these claims before Debtors fied these Chapter 11

proceedings on April 2, 2001. As fuher set forth in the Cour's Memorandum Opinion, there is

no basis upon which to toll British Columbia's thirt-year ultimate limitations period.

Accordingly, for the reasons set forth in the Court's Memorandum Opinion and Debtors' prior

submissions in these proceedings relating to Canadian ultimate limitations periods, Claim Nos.

11627 and 12476 are time-bared and should be disallowed and expunged.!


          B. Claimants' Statement of the Case

          Claimants believe that the burden of proof is on the Debtors to prove their limitations
objection under applicable law.




           Debtors incorporate herein by reference the following material that Debtors submitted in
           these proceedings on the Canadian ultimate limitations periods: (i) Debtors' Motion and
           Memorandum for an Order Pursuant to F.R.B.P. 7056 Disallowing and Expunging
           Eighty-Eight (88) Time-Bared Canadian Asbestos Property Damage Claims (Docket
           No. 14597); (ii) Debtors' Reply In Support of Their Motion for an Order Pursuant to
           F.R.B.P. 7056 Disallowing and Expunging Eighty-Eight (88) Time Barred Canadian
           Asbestos Property Damage Claims (Docket No. 14965); (iii) Debtors' Supplemental
           Submission in Support of Their Motion and Memorandum for an Order Pursuant to
           F.R.B.P. 7056 Disallowing and Expunging Eighty-Eight (88) - Now Fifty-Five (55)-
           Time-Barred Canadian Asbestos Propert Damage Claims (Docket No. 16755); (iv)
           Appendix to Debtors' Supplemental Submission in Support of Their Motion and
           Memorandum for an Order Pursuant to F.R.B.P. 7056 Disallowing and Expunging
           Eighty-Eight (88) - Now Fift-Five (55) - Time-Bared Canadian Asbestos Property
           Damage Claims (Docket No. 16757); and (v) Debtors' Reply to Anderson Memorial
           Hospital's Supplemental Post-Hearing Memorandum Re: Canadian Statute.                           of
           Limitations (Docket No. 17171).




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II. WITNESSES
          A. Debtors' Witnesses

           Debtors do not plan to call any witnesses in their case in chief, but reserve the right to

call witnesses identified by Claimants and witnesses in rebuttal to any testimony offered by
Claimants.



           B. Claimants' Witnesses

           Claimants do not plan to call any witnesses at this time.



III. EXHIBITS
           A. Debtors' Exhibits

                       1. Proof of   Claim Form, Exhibits and Supplements for Claim No. 11627.

                       2. Proof of Claim Form, Exhibits and Supplements for Claim No. 12476.



           B. Claimants' Exhibits

           Claimants do not plan to offer any exhibits at this time.


IV. PROCEDURE
           The paries have agreed that exhibits, if any, wil be exchanged ten (10) days before triaL.




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V. TRIAL
          Trial wil be held at the conclusion of       the April 19,2010 Omnibus hearing in Delaware.



Respectfully submitted,


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Dated: February 5, 2010




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